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                                                                                                  United States Bankruptcy Court
                                                                                                      Southern District of Texas

                                                                                                         ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                                           June 21, 2024
                           FOR THE SOUTHERN DISTRICT OF TEXAS                                         Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

                                                                    )
    In re:                                                          ) Chapter 11
                                                                    )
    DIAMOND SPORTS GROUP, LLC, et al.,1                             ) Case No. 23-90116 (CML)
                                                                    )
                             Debtors.                               ) (Jointly Administered)
                                                                    )

                    AMENDMENT TO STIPULATED PROTECTIVE ORDER
                               [Related to Dkt. No. 822]

                   This Amendment to Stipulated Protective Order (this “Amended Order”) is entered

into by and among: (a) the debtors and debtors in possession in the above-captioned cases

(collectively, the “Debtors”); (b) the Official Committee of Unsecured Creditors of Diamond

Sports Group, LLC, et al.; and (c) Cleveland Guardians Baseball Company, LLC (the

“Guardians”) and Rangers Baseball LLC (the “Rangers”); (d) the Office of the Commissioner of

Baseball d/b/a Major League Baseball (“MLB”), on behalf of itself, its affiliates, and each MLB

club that is a party to a telecast rights agreement with the Debtors or their non-debtor affiliates

(together with the Guardians and the Rangers, the “MLB Clubs”); (e) the National Basketball

Association (“NBA”), on behalf of itself, its affiliates, and each NBA team that is a party to a

telecast rights agreement with the Debtors or their non-debtor affiliates (the “NBA Teams”); (f)

the National Hockey League (“NHL”), on behalf of itself, its affiliates, and each NHL club that is

a party to a telecast rights agreement with the Debtors or their non-debtor affiliates (the “NHL

Clubs”); (g) the Ad Hoc Crossholder Group; (h) the Ad Hoc First Lien Group; (i) Amazon.com




1
      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.ra.kroll.com/DSG. The Debtors’ service address for purposes of these
      chapter 11 cases is: c/o Diamond Sports Group, LLC, 3003 Exposition Blvd., Santa Monica, CA 90404.


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Services LLC (“Amazon”); and (j) any other persons or entities who are seeking Discovery

Material, or from whom Discovery Material is sought in these cases and who becomes bound by

this Order. Each of the persons or entities identified in the foregoing clauses (a) through (j) shall

be referred to herein individually as a “Party” and collectively as the “Parties.”2 The Parties, by

and through their respective attorneys of record, and subject to approval by the Court, have agreed

to entry of this Amended Order, which amends the Stipulated Protective Order entered by the

Court on June 2, 2023 [Docket No. 822] (the “Protective Order”), pursuant to 11 U.S.C. § 107(b)

and Bankruptcy Rule 9018, and, as applicable, pursuant to Bankruptcy Rules 7026 and 9014 and

Federal Rule 26(c).3

                                                     Recitals

                 WHEREAS, certain of the Parties entered into the Protective Order, which was

entered by the Court on June 2, 2023;

                 WHEREAS, the NBA, on behalf of itself, its affiliates, and the NBA Teams, desires

to become a party to the Protective Order and subject to all of its terms;

                 WHEREAS, the NHL, on behalf of itself, its affiliates, and the NHL Clubs, desires

to become a party to the Protective Order and subject to all of its terms;

                 WHEREAS, certain MLB Clubs that were not parties to the Protective Order desire

to become parties to the Protective Order and subject to all of its terms; and

                 WHEREAS, Amazon desires to become a party to the Protective Order and subject

to all of its terms.


2
    The designation of a “Party” is for purposes of reference in this Amended Order only. In addition to the Parties,
    the Ad Hoc Secured Group was a signatory to the Protective Order. The Ad Hoc Secured Group did not
    produce any Discovery Material under the Protective Order and is no longer involved in the Chapter 11 Cases.
    Accordingly, the Ad Hoc Secured Group is not a Party to this Amended Order, it will not receive any Discovery
    Material from and after the date of this Amended Order, and its rights are not impacted by this Amended Order.
3
    Capitalized terms used but not defined herein shall have the meanings given to them in the Protective Order.
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               NOW, THEREFORE, to facilitate and expedite the production, exchange, and

treatment of Discovery Material, and to facilitate the prompt resolution of disputes over

confidentiality, and to protect Discovery Material that a Party seeks to maintain as Confidential

Material, Attorneys’ Eyes Only Material, or Outside Counsel Only Material (as those terms are

defined in the Protective Order), it is hereby stipulated and agreed, and, upon Court approval, it is

hereby ORDERED:

       1.      The NBA, its affiliates, and the NBA Teams are deemed “Parties” to the Protective

Order and subject to its terms, and, for the avoidance of doubt, are deemed to be included in the

list of parties that are entitled to receive information pursuant to paragraphs 10 through 12 of the

Protective Order.

       2.      The NHL, its affiliates, and the NHL Clubs are deemed “Parties” to the Protective

Order and subject to its terms, and, for the avoidance of doubt, are deemed to be included in the

list of parties that are entitled to receive information pursuant to paragraphs 10 through 12 of the

Protective Order.

       3.      The MLB Clubs are deemed “Parties” to the Protective Order and subject to its

terms, and, for the avoidance of doubt, are deemed to be included in the list of parties that are

entitled to receive information pursuant to paragraphs 10 through 12 of the Protective Order.

       4.      Amazon is deemed a “Party” to the Protective Order and subject to its terms, and,

for the avoidance of doubt, are deemed to be included in the list of parties that are entitled to

receive information pursuant to paragraphs 10 through 12 of the Protective Order.




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       5.      Except as otherwise expressly modified by this Amended Order, all terms and

provisions of the Protective Order remain in full force and effect.

THE FOREGOING STIPULATION IS SO ORDERED:


Dated: _________________________                     ___________________________________
           August
           June     02, 2019
                21, 2024                              CHRISTOPHER M. LOPEZ
                                                      UNITED STATES BANKRUPTCY JUDGE




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  IT IS SO STIPULATED:

  Dated: June 20, 2024

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